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                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF GEORGIA
 In the matter of:                                                           )
        Richard J. Murton                                                    )            Chapter 13 Case
                                                                             )
                                                                             )            Number     14-41133
                                                     Debtor(s)               )

                              MOTION REGARDING CHAPTER 13 PLAN PAYMENTS
        The above-captioned Debtor(s) hereby requests that the Chapter 13 plan payments be remitted as
indicated by the checked box:
    Wage Withholding. A completed Order to Commence Withholding is attached. The undersigned Debtor, by
    submitting the completed Order to Commence Withholding, grants permission to the Court to provide the
    Debtor's employer with the Debtor's taxpayer identification number for the sole purpose of identifying the
    Debtor as an employee; or
    Direct Pay. A completed Order to Allow Direct Plan Payments to Trustee is attached. The Debtor receives
    income from self-employment, social security, pension or other income from which withholding is not
    feasible for the following reasons:
        DEBTOR RECEIVES SOCIAL SECURITY




                                      (Give name and nature of business and explain why direct payment is necessary.)


 DATED:            July 18, 2014                                                  /s/ Richard J. Murton
                                                                                                      Richard J. Murton
                                                                                                            Debtor

                                                                                  /s/ BARBARA B. BRAZIEL
                                                                                                 BARBARA B. BRAZIEL
                                                                                                      Attorney for Debtor




                                                                                                                               Local Form 2007-2-a
                                                                                                                                       (Rev. 02/07)

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                                                              United States Bankruptcy Court
                                                                     Southern District of Georgia
 In re      Richard J. Murton                                                                           Case No.   14-41133
                                                                                 Debtor(s)              Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on July 18, 2014, a copy of Motion Regarding Plan Payment was served electronically or by
regular United States mail to all interested parties, the Trustee and all creditors listed below.

 O. BYRON MEREDITH III
 CHAPTER 13 TRUSTEE
 P.O. BOX 10556
 SAVANNAH, GA 31412



                                                                               /s/ BARBARA B. BRAZIEL
                                                                               BARBARA B. BRAZIEL
                                                                               BARBARA B. BRAZIEL
                                                                               6555 ABERCORN ST.
                                                                               SUITE 105
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